                   Case 1:22-cv-00326-LM Document 71-7 Filed 04/01/24 Page 1EXHIBIT
                                                                             of 13  A-5
A special meeting of the Board of Aldermen was held Monday, July 18, 2022, at 7:00 p.m. in the aldermanic chamber and
via Zoom teleconference which meeting link can be found on the agenda and on the City’s website calendar.

President Lori Wilshire presided; City Clerk Susan Lovering recorded.

Prayer was offered by City Clerk Susan Lovering; Alderman Patricia Klee led in the Pledge to the Flag.

Let’s start the meeting by taking a roll call attendance. If you are participating via Zoom, please state your presence, reason
for not attending the meeting in person, and whether there is anyone in the room with you during this meeting, which is
required under the Right-To-Know Law.

The roll call was taken with 12 members of the Board of Aldermen present: Alderman O’Brien,
Alderman Klee, Alderman Moran, Alderman Lopez, Alderman Jette, Alderman Clemons, Alderwoman Kelly, Alderman
Dowd, Alderman Gouveia, Alderman Thibeault, Alderwoman Timmons, Alderman Wilshire.
Alderman Sullivan and Alderman Comeau were recorded absent.

Mayor James W. Donchess, Corporation Counsel Steve Bolton, were also in attendance.

COMMUNICATIONS

From:     President Lori Wilshire, Board of Aldermen
Re:       Calling Special Board of Aldermen meeting on July 18, 2022

There being no objection, President Wilshire accepted the communication and placed it on file.

NOMINATIONS, APPOINTMENTS AND ELECTIONS

Office of City Clerk

Daniel R. Healey                         Term to Expire: Indefinitely
Derry, New Hampshire

There being no objection, President Wilshire accepted the nomination and referred it to the Special
Personnel/Administrative Affairs Committee immediately following this meeting.

UNFINISHED BUSINESS – ORDINANCES

O-22-020
    Endorsers:     Alderman Richard A. Dowd
          Alderman-at-Large Melbourne Moran, Jr.
          Alderman-at-Large Michael B. O’Brien, Sr.
          Alderwoman-at-Large Shoshanna Kelly
          Alderman Thomas Lopez
          Alderwoman-at-Large Gloria Timmons
          Alderman Patricia Klee
   ESTABLISHING ONE-WAY STREETS AND CHANGING THE STOP INTERSECTION NEAR THE FRANKLIN
   STREET SCHOOL
Given its second reading;

MOTION BY ALDERMAN DOWD TO AMEND ORDINANCE O-22-020 BY REPLACING IT WITH THE GOLDEN ROD
COPY PLACED ON YOUR DESKS THIS EVENING

ON THE QUESTION

President Wilshire

Alderman Dowd?

Alderman Dowd

Yes this legislation is to arrange the street traffic for safety reasons around the new Franklin Street School. With our 14
engineers, we thought we had everything covered until we realized that we don’t have a stop sign at the intersection of
                  Case 1:22-cv-00326-LM Document 71-7 Filed 04/01/24 Page 2EXHIBIT
                                                                            of 13  A-5
Special Board of Aldermen                                     07-18-2022                                 Page 2

Locust Street and Franklin Street, which probably should have been there anyway. That’s what the golden rod copy adds
is that one stop sign. So this is – and the timing is I won’t say critical but we need the DPW to have the time to set all this
traffic pattern up before school starts. Once this legislation passes this evening, they can get started so thank you.

President Wilshire

You’ve heard the motion is there discussion? Alderman O’Brien?

Alderman O’Brien

Thank you. I would just like to chime in and echo with Alderman Dowd. As Chairman of the Infrastructure Committee,
this was brought up before that particular Committee and I agree with this amendment because it clarifies further on what
the Committee’s wishes were and everything and just solids it even more. Also to keep in mind, and I may mention it
again when the Motion does come up for the bill as amended, this is in regard to safety the school. Expedite the – we’ve
got to think of the transfer of students to and from school at that particular time so this will enhance the safety. So as we
vote on this, think of safety. Thank you.

President Wilshire

Motion is to amend. Further discussion on motion to amend? Alderman Klee?

Alderman Klee

Thank you Madam President. Prior to doing this when Franklin Street School had first opened up, I got a number of
phone calls from parents that had students there and the dropping off and picking up of students and drivers just speeding
by. One of my concerns was we didn’t have an appropriate drop off and so on. That had been changed as part of this
design and part of the design was changing the streetscapes and the direction. I tried to do my best to let people in the
neighborhood know. I put flyers and my business card and so on. I did not do that with businesses. I did do that with the
residents that were there. I did not hear from any of them but I have a feeling that the message still did not get out there.
I think there’s still going to be a number of residents that are going to be confused and a little frustrated by this change. I
want them to know it’s primarily because of the safety issues it has to be done there. We do lose some parking and
parking is extremely important in that area. I’m hoping we can work with parking to figure out other ways that we can
create more parking.

Throughout that entire area, there is a mismatch of 30 minute, 1 hour parking, and so on. I know it’s a story for another
day but the residents that are listening and hearing about this, I think they need to be made aware that it really was a
safety issue for the children more than anything but there is going to be frustration and I can understand that. Thank you.

President Wilshire

Alderman Clemons?

Alderman Clemons

Is this on the amendment or this the amendment? I will reserve my comment.

President Wilshire

Motion before us is to amend. Further discussion on that motion?

MOTION CARRIED

MOTION BY ALDERMAN DOWD FOR FINAL PASSAGE OF O-22-020 AS AMENDED

ON THE QUESTION

Alderman Dowd

Just one more piece. This plan was put together with the entire group from DPW, City Engineer, Wayne Husband, the
School Department, Fire Department, and Police Department. Everybody’s had their say in this. We’ve made a couple of
modification for the Fire Department and everybody is comfortable with this. The children being dropped off at this school
                  Case 1:22-cv-00326-LM Document 71-7 Filed 04/01/24 Page 3EXHIBIT
                                                                            of 13  A-5
Special Board of Aldermen                                     07-18-2022                                  Page 3

are pre-school, little kids, and sometimes two in a car and they have to open the outside doors. So traffic has to be one-
way and for safety. Also the school parking is going to be in that huge parking lot not on the street so that will free up
some spots.

President Wilshire

Alderman Clemons?

Alderman Clemons

Thank you. While I appreciate the fact that the work that has been on this, I can’t support this legislation with Franklin
Street being a one-way one direction away from Main Street. I don’t think it bodes well for the future particularly if we’re
going to connect Franklin Street hopefully to the Broad Street Parkway someday. So unfortunately because of that will be
not supportive of this.

President Wilshire

Alderman Lopez?

Alderman Lopez

I probably won’t support this myself, although I did support the amendment because anything that improves the traffic
control in the area I think is probably a good thing. I have a lot of concerns about the residents’ ability to participate in
decision making. While we did have over a dozen engineers as Alderman Dowd mentioned and City Department staff
that reviewed this, there wasn’t really a clear opportunity for the public to weigh in. There was a Committee on
Infrastructure meeting last Wednesday but at least a copy of the agenda that I have didn’t have this on the agenda. I
believe Alderman Dowd had to be recognized in order to be added to the agenda. It was mentioned then that was an
order for the Committee to review it in time for tonight’s meeting.

So if I’m the public and I get a notice from my Alderman and I don’t necessarily know her personally but I feel like maybe I
can watch a meeting, or connect via Zoom or something, and then I have two special meetings where there’s way less
notice, I don’t think that’s necessarily an opportunity for residents to weigh in. I know that there’s a group home in that
area and I don’t know that traffic being directed in their direction is going to be a great idea. I know children play on that
street. I regularly see them playing basketball or other games in the street and that’s not a good idea if it’s going to be a
one-way traffic funneling drivers through there. While I get there are youngers students that need to be protected and we
need to make sure that we don’t create an unsafe environment for them, I also am not entirely confident that this does that
as the traffic circles around and crosses itself back onto Franklin Street with a stop sign. I can see if a number of people
are trying to pick up there might be a backup onto Winter Street or Locust Street and that could cause frustration and
generally create a very difficult environment for the residents living there and as a representative of a Ward that has
basically been turned into a series of one-way streets, I would think as a resident I would at least want the chance to
weigh in on that. So I don’t think I’m going to support the amendment but I also recognize that we all came here tonight to
vote on it so I don’t think there is going to be a will to send it back to Committee.

President Wilshire

Alderman Dowd?

Alderman Dowd

Yeah I just want to point out that Franklin Street is only one-way from Locust around the school. According to City
Engineer if it’s ever connected to Broad Street Parkway, it’s going to be one-way from Main all the way. This is a safety
item that’s been through a lot of scrutiny and I do believe a lot of the abutters have been notified.

President Wilshire

Alderman Clemons and Alderman Klee?

Alderman Clemons

Yeah my grandparents used to live in that neighborhood. My father grew up in that neighborhood. That street’s been a
two-way street for as long as I can remember all the way down Franklin Street and you go up Charles into Fairmount
                  Case 1:22-cv-00326-LM Document 71-7 Filed 04/01/24 Page 4EXHIBIT
                                                                            of 13  A-5
Special Board of Aldermen                                    07-18-2022                                 Page 4

Heights and Little Florida. It’s going to create a traffic jam. It’s going to create a major problem. It is a main thoroughfare
down from – anyone who lives in Fairmount Heights and Little Florida that’s how you get to Main Street. I understand that
there are other ways to get to Main Street but this is going to create an inconvenience because it’s not even like you can
go down Charles and go onto Winter. You can’t even do that. Looking at this map, it looks like you have to either go
down Auburn or go down Terrace Street. I just don’t think this is a good idea. I think we’re taking a major thoroughfare
and we’re changing direction in the other way.

I also agree with my colleague from Ward 4 that the public - this is a major change to a major thoroughfare and I think we
need to have more input from the public.

President Wilshire

Alderman Klee?

Alderman Klee

Thank you Madam President. Through you to Alderman Dowd is this a must to pass today? Is there something that -
that’s my first question and my second question is the remainder of Franklin Street will still remain as a two-way however,
Locust Street will be a one-way? So to Alderman Clemons’ comment and Alderman Lopez’s comment, that’s exactly
what we’d be talking about is that they would have to turn down Green Street, etc. to get to Little Florida and so on. I
guess that’s my question does this direction have to go this way? Does it have to happen today? Could we have a public
input into this?

Alderman Dowd

We had numerous meetings and the reason that it has to pass is so the DPW has the time to do all the street markings,
and the street signs, and get this in place and people used to it before school opens. If we don’t pass this, we probably
will have to close that school. Believe me, that’s a price tag nobody wants to hear about. Again, this the City’s Traffic
Engineer, the City Engineer, all of DPW, Police and Fire, they all concur this is the safety for little kids.

President Wilshire

Alderman Thibeault?

Alderman Thibeault

Thank you Madam President. I’ve been on the fence on this. I’m most likely going to support it. The only concern I have
is that we’re having a Board of Aldermen Meeting and we didn’t allow Public Comment ahead of time, which would allow
people to speak on things that are on the agenda. Not that there’s a ton of people here that would be Public Comment
but usually when you have any kind of Board of Aldermen especially since we just junked this onto the agenda last week,
I would think we would have at least an opportunity for Public Comment before we vetted this out and voted. That’s my
main concern is that, again, we’re not allowing people to speak on it. Maybe for a good, but it seems like we’re rushing it
through.

President Wilshire

Alderman O’Brien?

Alderman O’Brien

Thank you Madam Chair. Again as Chairman of Infrastructure, this wasn’t thought of yesterday. This has been debated
for several months. It’s been on the docket. We didn’t have meetings on some of it and the reason is because Budget
takes the priority. We had Budget meetings and we have to get a City budget done. But at that particular time as
Chairman of Infrastructure, not one scintilla of a complaint have I received from the public on this particular thing as
Chairman of the Committee.

Now this Board and Infrastructure has in the past - Kinsley Street, West Hollis Streets used to be two-ways. Now they’re
one-ways in either direction. Whenever we change traffic patterns yeah but I guarantee the sun will come up tomorrow.
We have sitting before us coming out of Infrastructure in the not too distant future of looking at West Pearl Street and what
to do there and to enhance that particular thing. We make these changes all the time. If we do find out that something is
wrong with this particular traffic pattern, if we receive information from the public who are affected, that does not mean
                  Case 1:22-cv-00326-LM Document 71-7 Filed 04/01/24 Page 5EXHIBIT
                                                                            of 13  A-5
Special Board of Aldermen                                    07-18-2022                                 Page 5

stop us by passing this evening. It does not stop us one bit from taking under advisement again to the Board and try to
come up with a better solution, if there is a better solution. I found in the past when you deal with things regarding, and
what I brought up in my original comments, was safety. When I brought up things about safety and go back a bit to my
time on the Fire Department, they were not really popular items but items that needed to be done to enhance. If this is
going to have potential impact, I am not going to be an Alderman to delay the opening of school because of a particular
traffic pattern. I’m willing to let this go through and we can take it under advisement of study and then look at this after
several months and we may come to find out there was not hiccup at all. So I think passing it this evening is the wise
choice but therefore, I respect my fellow Aldermen that do have concern on this. I encourage them to come to
Infrastructure meetings, and to voice your concerns, and become the watch dogs of this particular project and if we find
out there are hiccups with this, we’ll address it, and have meetings, and we’ll try to resolve the issue.

I think two items - the opening of the school - very important. It supersedes that. I think we have to pass this for the
safety of the students who will be attending this particular facility. Thank you Madam President.

President Wilshire

Alderman Clemons?

Alderman Clemons

Thank you. I guess when this was first presented and it was a while ago when we doing the bond for the school, the
thought was to use Winter Street as the drop off area. I am fine with that. I actually don’t mind some of the other changes
to it. My objection here is the one-way of Franklin and Charles. If that can be changed, then I could support some of this
stuff but changing a major thoroughfare, and that’s what it is and that’s why some of the people here are saying it has to
be changed, is because it’s a thoroughfare, right? So people go down that road in both directions and it’s a busy traffic
area. So why do we have to do these changes? Oh because it’s a school. Well I get that but we have to balance the
needs of the neighborhood as well and I don’t think that this does it.

I appreciate what the Traffic Engineers say and I appreciate all that but my common sense having driven that street and
knowing that neighborhood tells me otherwise. So I don’t care. I will not support changing that street to one-way. If you
want to change it to something else where Charles Street and Franklin Street remain two-way all the way to Main Street, I
can live with something like that but otherwise this isn’t going to get my support.

President Wilshire

Alderman Klee?

Alderman Klee

Thank you again Madam President. I’m hearing what everybody is speaking about. There are a couple things I want to
say. First off is from the day that school opened, I got barraged by phone calls of the lack of safety and the lack of safety
is on Franklin Street. That’s where the real issue is. That’s where the speeding is because it is a major thoroughfare.
While I’m very concerned that not enough residents were given a heads up about this, spoke to them about it, I think that
we did do them a disservice and any part that I played in that I do apologize.

I understand the concern about the one-way on Franklin but the one thing I’ve heard about over, and over, and over again
is the safety thing. I would never micromanage DPW nor would I try not to question them. I do have concerns that it
would take them this many months to paint and put signage up. I think they would be able to do it a little bit quicker than
that but again, I’m not going to micromanage it. I can’t see how this could delay the opening of the school. I would like to
see it kind of put off at least another couple of weeks but again, I’m not going to fight that.

I am going to support this because we really do need the safety of it. When the school opened back in September and so
on, I did speak to Alderman Dowd about the necessity of doing something. The drop off and pick up if I’m not mistaken
are still on Franklin Street, right? It’s just the handicap access on Winter Street if I do understand that correctly from
conversations that have been had. Franklin is a major thoroughfare. That is a very scary area. Terrace is going to have
a hard time dealing with that amount of traffic that is going to be redirected to it. Auburn could handle it. Locust Street,
again, especially between Terrace and Winter Street is going to be a little bit harder for people to be driving through and
so on. I am going to support it. I’m going to support it reluctantly only because of the lack of public input on it. But I will
support it because I’ve heard non-stop about the safety of Franklin School and I don’t want any child to be hurt. There are
a variety of different types of students that are in that school as well. That is my biggest concern.
                  Case 1:22-cv-00326-LM Document 71-7 Filed 04/01/24 Page 6EXHIBIT
                                                                            of 13  A-5
Special Board of Aldermen                                    07-18-2022                                Page 6

President Wilshire

Alderman Dowd?

Alderman Dowd

Just a couple other things. One - the Franklin Street right there in front of the school is only two lanes. So when the
parent’s park to drop off their kids, there’s only one lane and it’s a real issue when it was two-way traffic. When you are
opening a door on the travel lane side, there’s a lot of people that have two little kids it was an issue.

Also while we were there with all the engineers, even though there was a stop sign at the end of Charles Street before
you turn onto Franklin, nine out of ten cars didn’t even slow down to go around that corner. That is extremely dangerous.
We posted a police car there for a while but the people across the street don’t like to have police cars parked there
because that’s the (inaudible). The Police department thought this would fix that problem. The Fire Department has no
problem getting to fires. Everybody’s had their say in this. There’s a new handicapped ramp that’s going on Franklin
Street side of the school. So when you get kids that need to have handicap access, that’s where they’re going to go in.
Again, this has been the subject of many, many meetings. The architect and the City Engineer came up with various
plans. This was the one that everybody agreed to. They need time to order signs, schedule this. They can’t go out
tomorrow and do the work.

President Wilshire

Alderman O’Brien?

Alderman O’Brien

Thank you. First I’d like to just say Alderman Dowd you bring up a very good point about that. Ninety degree turn. It’s
one the sharpest turns in the City on Franklin coming onto Charles Street. I would like other members of the Board to
understand a couple of points here. We could have built probably, and Alderman Dowd can chime in, maybe another
building, another location, probably a little bit more accommodating to the traffic at what price? You got to keep in mind
when you repurpose a building, you might have a new building and you can remodel to such to fit your particular needs
but you’re repurposing. You’re going against the grain of what the original architect designed the building to be and this
building has been modified to make it an enhancing educational experience. Is it in the best of areas? The answer is “no”
and this is a full, I think, legitimate choice with this to do this.

I would like to remind you this is like when I used to take my kids to the beach and find out that one of them forgot their
bathing suit. The thing is we are now and to the end of July and Alderman Dowd when does school start? August and we
only have limited time if it comes back to Committee. I’ll put the work in and try to put it on the front burner but there may
not be enough time to have this done. So you’ve got to weigh that particular balance too. I understand but like I say,
everything can be flexible. Concerns – if it doesn’t work out, again, at the risk of repeating myself and I’ll be brief but it
can be modified in the future if need be. We might find out that the whole key here is safety and that’s what brought this
particular legislation forward. Because if it wasn’t for safety reasons, why have this particular amendment or why do you
have this particular Ordinance? So as we vote, again, I’ll remind you of that 5-letter word “safety”.

President Wilshire

How many letters? Alderman Clemons?

Alderman Clemons

I’m all set.

President Wilshire

Alderman Lopez?

Alderman Lopez

So I understand the sentiment being expressed by my fellow Aldermen. Just for the record S A F E T Y is not 5 letters. I
don’t think there was enough time to fully vet this because normally we do have agenda items on Infrastructure
Committee meetings so that when something is presented at the Board of Aldermen in the ordinary process, the public
                 Case 1:22-cv-00326-LM Document 71-7 Filed 04/01/24 Page 7EXHIBIT
                                                                           of 13  A-5
Special Board of Aldermen                                   07-18-2022                                Page 7

can say well okay it will be at the next Infrastructure Committee meeting, look at the Infrastructure Committee meeting,
see it on the agenda, and then weigh in. That didn’t exactly happen here and then they would at least know oh shoot I
missed the Infrastructure Committee meeting where it was commented on but at least it will be at the next Board of
Aldermen meeting except we’re here on a Monday night at a Special Board of Aldermen meeting.
So I just want to acknowledge that the public may not have had the access that they traditionally did. I do also recognize
that there’s a reason for it. We have to figure out how to get this implemented, striped, and presentable in time for people
to learn how to do it. Just saying well I’m sure Department of Public Works can get this off the ground much faster than
that and I agree. They probably could if we didn’t have them doing 30 or 40 other things. So I also understand that to do
this right and to make sure this is done effectively, we have to recognize that DPW has a lot to do. So I don’t necessarily
want to stop it from happening. My concern was mostly the process and I think to people who may feel maybe watching
us and may feel like they didn’t get a voice in what’s happening in their immediate neighborhoods. It’s true but at the
same time if we don’t implement a plan that has been vetted by the traffic engineers and Department of Public Works in
enough time for all of those people who are on the thoroughfare to get used to it, then they won’t be able to change
behaviors in 4 or 5 weeks and it’s going to be even more unsafe situation because you don’t want to switch your plan mid-
process.

That’s also why my concern that this as willing as Alderman O’Brien is to tackle this at the Infrastructure Committee, I
would imagine we’d have to wait until next year because we’re about to put a bunch of signs in the ground and repaint the
ground so we can’t exactly go back and say oh you know what that one-way was a bad idea because there will be
stripping everywhere and it’s not a reversible thing. So I brought up the issue and the concerns about transparency, and
public input, and all that because I think they needed to be brought up but I also think this has proceeded to the point
where we don’t have a lot of options.

I have a couple of minor questions I guess. Everything is minor until there is a traffic accident but I’m not sure where
people are coming down Locust are going to go if they encounter a one-way street after Winter. I don’t know for sure that
we had a traffic study confirm that the majority of the speeding was coming from the Auburn Street direction and not from
Main Street because from personal experience I would say that people are coming at a pretty good clip from both
directions. Those are things that we should be talking about at the Infrastructure Committee in order to fine tune this. It
wasn’t my intention to completely stall this. I just have a lot of concerns about the ability for people who live in that
neighborhood who are worried about their kids in their driveways to weigh in on this.

President Wilshire

Alderman Moran and then Alderman Clemons?

Alderman Moran

Thank you Madam President. I actually came in prepared to vote for this and then I listened to the debate, which is I
guess is why we have it. But I would express my concerns too about public input and then the feeling of psychological
key words used it almost feels like we’re being strong armed into voting “yes”, which is also very concerning. Kicking the
can down to a special Board meeting with six weeks before school starts seems like you put us in between a rock and a
hard place. It’s not a position I want to be in despite the budget and all these other important things we do no matter what
whether or not. I hear my colleagues to the right of me express concern that the public didn’t have enough input. I
completely trust the City Engineers and the strong government we have here but I also want to hear what the people have
to say. So now after hearing this debate, I’ll be voting no on this.

President Wilshire

Alderman Clemons?

Alderman Clemons

Yeah looking at the map more, I mean I don’t know what the engineers would think but, you know, if this went back and
Charles Street was a two-way all the way down to Winter and you basically made a one-way loop around the building, I
guess reluctantly I could support something like that. I think that should go back to Committee and be discussed. I just
don’t think this map is going to benefit the neighborhood.

President Wilshire

Alderman O’Brien?
                  Case 1:22-cv-00326-LM Document 71-7 Filed 04/01/24 Page 8EXHIBIT
                                                                            of 13  A-5
Special Board of Aldermen                                    07-18-2022                                Page 8

Alderman O’Brien

Thank you Madam President. Again, I do take somewhat a little bit of umbrage as far as scheduling any meetings in the
City. We have to follow - I’m sure the City Clerk can verify - we have to follow certain procedures and all procedures
legally were followed. I cannot encourage people who stay at home whether to watch like eagle eyes on the city
government. I think they do trust us somewhat to come up with the best solution as possible. Now we’re getting into
deeper waters and everything. There’s no City Engineer here. This meeting has turned into whether to vote on a
particular subject. It’s turning into an Infrastructure meeting. So therefore, I don’t think there is any solution coming
forward. So therefore Madam President, I would like to make a Motion to Move the Question.

MOTION BY ALDERMAN O’BRIEN TO MOVE THE QUESTION
MOTION CARRIED

MOTION BY ALDERMAN DOWD FOR FINAL PASSAGE OF O-22-020 AS AMENDED, BY ROLL CALL

A viva voce roll call was taken which resulted as follows:

Yea:      Alderman O’Brien, Alderman Klee, Alderman Jette, Alderman Dowd,
          Alderman Gouveia, Alderman Thibeault, Alderwoman Timmons,
          Alderman Wilshire                                                                              8

Nay:      Alderman Moran, Alderman Lopez, Alderman Clemons, Alderwoman Kelly                             4

MOTION CARRIED

Ordinance O-22-020 declared duly adopted as amended.

PERIOD FOR GENERAL PUBLIC COMMENT

Laurie Ortolano

Laurie Ortolano, 41 Berkley Street. I just wanted to make a comment. I think that (inaudible) that ordinarily would be
addressed (inaudible) is a detriment to (inaudible). The special meeting I think (inaudible) City Clerk position I’m not
certain. (Inaudible) I’ve noticed this individual is a fairly young person and he’s coming to a City that I think is very
corrupted and working for a Mayor that I think is really unethical, unscrupulous, a liar and I’ve had to put in a lot of law
suits involving records and the lack of openness for records. Some of the issues have stemmed around the Clerk’s
Office, so I’m very concerned about this because I think there needs to be a lot of changes made in that Clerk’s Office and
I think not having somebody certified for three years was a problem. I think a good number of our policies are outdated.
When a citizen comes to the Clerk Office and asks to inspect records and is told they’re not there and then asks well do
you where they are? The answer is under RSA 91-A, I don’t have to answer questions. It ensues into an argument at
which point it then is revealed that the records are in another part of City Hall and you’re told where they. I don’t think
those fights are necessary to have. I don’t think that’s compliant with the law. This is a City that violates open records
frequently. I spent the weekend working on a pro se lawsuit. That’s the biggest one I’ve filed so far. All on record issues.
I’m disgusted. I’m just disgusted that this is what it goes to and it never stops. So I hope this new Clerk has the gumption
to make change but I have seen this Mayor ruin many careers on good people. When I see somebody young stepping
into the seat, I’m thrilled but I’m also concerned because this City is a career buster. So best wishes to you, I hope you’re
dynamic and manage our records like they haven’t been managed for quite some time.

President Wilshire

Anyone else want to give Public Comment? Seeing none.

REMARKS BY THE MEMBERS OF THE BOARD OF ALDERMEN

Alderman Clemons

Thank you. I just want to say for the record that our outgoing City Clerk has done a superb job and she should hold her head
up high for doing the best work that I’ve seen in a City Clerk since I’ve been an Alderman.

Alderman Thibeault
                  Case 1:22-cv-00326-LM Document 71-7 Filed 04/01/24 Page 9EXHIBIT
                                                                            of 13  A-5
Special Board of Aldermen                                      07-18-2022                                 Page 9

Thank you. I’ve got a couple of things. First thing absolutely echo Alderman Clemons’ comments. I worked as assistant
moderator, interim moderate whatever it’s called, selectman, ward clerk under her guidance during these elections and she’s
been excellent. I’ve also worked with Trish and Paul. No drop off whatsoever as they trained her and the abuses she takes
over the last few years has been just – I don’t know - it would break most people but good for her. She’s been able to handle
it, and I think she’s done a great job and I really appreciate the work she’s done for us.

One of the things off track a little bit but since we have most of the Board here I want to discuss it. So a couple weeks ago
we went to an Elm Street public hearing. Somewhere at some point somebody mentioned $30 million to keep the Keefe
Auditorium. So I talked to the esteemed Alderman Dowd because he’s built lots of buildings in this City as an Alderman. He
knows everything about building. He’s building a school for $77 million. Ask Concord how they’re building a school. So I
asked Alderman Dowd and he told me there is no way that it would take $30 million to keep this auditorium. I talked to a few
other Aldermen too and they said the same thing. But once the genie was let out of the bottle, everybody believes its $30
million. So somebody mentioned it on Facebook it’s going to cost $30 million. So I went in there and I just said no it’s not
true. We still have to get a lot of things out. We don’t yet and apparently that was me misleading the public because on
Sunday I got newspaper with an op ed from one of our Aldermen in the horseshoe. It was $30 million was mentioned 7
times in that op ed. That’s propaganda and I don’t believe that as Aldermen we should be doing that. We all have our right
to free speech. I believe anybody can write an op ed but when you start taking things that aren’t necessarily true and giving
them out to the public and if you say it enough times, people believe it. They believe, I guess, they say the lie, right? I’m not
saying it’s a lie because we don’t know.

Again, he can say he doesn’t agree with keeping the Keefe. I’m fine with that. People have a right to their opinion. And at
the very end of that article, he wrote “a City official has his own agenda”. I know who that is, it’s me because he basically
said what I did on Facebook., so I want to talk about that because it’s important that my agenda is directed by the public. We
were elected to serve the public. In this article he says just about everybody wants to keep the Keefe. Everybody. Nobody
wants to bulldoze the Keefe. No one. Well then instead of saying it’s going to cost $30 million, why aren’t we as Aldermen
trying to find a way to keep it? That’s what people want. So the only agenda I have and the only bias I have is to do what
the constituents that elected us to do and go do it. We can find a way to keep that way under $30 million. Just cuz it’s $30
million doesn’t mean its taxpayer $30 million. There’s ways to do this and the consultants that came in when pie in the sky -
I’ll quote the esteemed Alderman Dowd, “the Taj Mahal of auditoriums”. We don’t need the Taj Mahal. We just need the
Keefe Auditorium. So I think when you say you don’t have the agenda, and you have the facts, and the other person
doesn’t have the facts, you have an agenda. Anyone who writes an op ed has an agenda and that’s not how we should
legislate. We should legislate in this horseshoe and in committee meetings. That’s what our job is based on what we were
told by the people who elected us. I’m sorry, it may snarky or whatever but I’m going to believe someone like Alderman
Dowd who has the experience over someone who has been an Alderman for two minutes. I’m sorry. That’s all I have to
say.

President Wilshire

Alderman Klee?

Alderman Klee

Thank you Madam President. I’d like to start by thanking Clerk Lovering for all that she’s done. Right from the beginning,
she was put into a very large election with a lot of things that were different from the previous years. We had more voters I
think both registering and she has as well had to get all of the Ward Clerks and Ward people in general. I think she did a
magnificent job. I don’t think she slept for the week before and probably two weeks afterwards or I should say, 2 weeks
before and 2 weeks afterwards. She is an amazing person and I’m also very biased because she is also one of my
constituents. I threatened her when she said she was leaving. I said you are not moving though, right? I think she’s been a
little non-committal on that. In any case, I’m very pleased with all the work that she has done and she has worked very hard.
She has taken much abuse from a lot of the public.

I do have one second. I had a Ward meeting last Wednesday. The Mayor who sat through all of it knows it went over 2
hours. It was a very long meeting and I appreciate everyone that came. For the first time, I wasn’t the one speaking. So the
two hours wasn’t because of me. Probably because I didn’t stop the other speakers which is for me. The Police were there.
We had representatives from the Nashua Police Department. They did a phenomenal job talking to residents about break
ins, talking to residents about how they can keep their homes safe with cameras, talking to the residents about the
importance of community. If you’re not going to be home, speak to neighbors who can watch over your home. They offered,
and I’ve spoken to some, that the police have come out to help them set up the cameras. Our City Police are doing
everything they can.

We also had a speaker from the FBI who did speak as well. I was getting a little nervous that he was trying to scare people
                 Case 1:22-cv-00326-LM Document 71-7 Filed 04/01/24 Page 10EXHIBIT
                                                                            of 13  A-5
Special Board of Aldermen                                    07-18-2022                                 Page 10

but he did speak about gangs that are in and around Nashua and in the State. Really reiterated that there are not as many
as we think. They just kind of come from all around but many of them aren’t really here in the City of Nashua. So that’s a
good thing to know. Around us yes but not necessarily in it.

We also had a speaker from Public Works who talked about the streets. I would like to truly thank Ms. Byers who stayed 90
minutes before she got to speak. She was phenomenal. All of those that did speak, stayed afterwards and talked to my
constituents. We had about 40 people there which amazed me. My husband had to keep going and setting up chairs as
people kept walking in. We will be having a second one in either the end of August or sometime in September again. I plan
on bringing some department people to the meeting so they can speak and so on. It will not having to listen to my just like
you are right now. I want to thank all of those that came, including the Mayor and all of my constituents that came and sat
there for two hours. We are going to be putting through another Crime Watch meeting in Nashua since the French Hill one
has been gone. Thank you very much Madam President.

President Wilshire

Alderman Dowd?

Alderman Dowd

Yes just a few quick things. One - I worked with Sue Lovering for a number of years. We were kind of devastated when
she left our Legislative Assistants role because she had been there so long. There wasn’t anything that she didn’t know
how to do. Donna has done a great job filling in but she has also done a superb job as City Clerk. I know when we – just
going through the renovations of Fairgrounds and had just redone the entire gymnasium, Sue and I got together to make
sure it could be used for a voting place and wouldn’t destroy the floor that we just spent a lot of money fixing. So that was
all taken care of. It went smoothly and by the way, we made all the doors handicap accessible so it’s a much better place
to vote now. I thank her for that.

As for Elm Street, I don’t have a mechanical engineer. I’m an electrical engineer but I have been around a lot of building
projects. Elm Street today can be used for any kind of a performance. Nothing’s changed. The only issue you’ll have is
we tear down the school building because the heat, electricity, and power are all coming from the school building in which
case, then you’d have to do a HVAC piece. There is plenty of opportunity in what I’ll call fairly new facilities around the
auditorium and behind the auditorium to do everything that needs to be done. I mean the one thing that’s missing is a
good size lobby and restrooms. There is a way that you could add rest rooms without spending $30 million. You could
also take a phased approach over 10 -15 years to bring it up much like they did in Laconia. But to spend $30 million is
first of all the hardware design was done was to add a three-story addition to the auditorium. I’m not even sure what’s in
the three-story addition but to me that doesn’t cut it. Especially with the room around the building that you can use. So if
you want to turn it into a completely new auditorium like they did in Laconia, yeah you could probably spend $30 million
even though I think that number is high no matter what you look at. You don’t have to spend anything right now.

If we close the school, the City picks up the cost for the heating, and the electricity, and the auditorium can be used more
often than it’s used now because it’s used every day by the school. I was associated with Actor Singers some time ago
and my kids were all associated with Actor Singers. A number of performances there. People don’t understand there are
several practices before you actually put on shows but the shows were always limited by the fact the school needed the
auditorium. So there would be more performances with the school not being there. I guess the key is you don’t have to
spend $30 million today to make it usable. It can be used just by the City picking up the electricity and heat, period. Now
if we tear down the school, again, that’s a different story but it’s still not $30 million. So I hope we have a lot more
meetings on Elm Street before we go anywhere and spend a dime.

As far as the legislation we passed this evening, I know it seems like it’s coming at the last minute and to some degree it
is but first of all, the Joint Special School Committee didn’t get this school until it had been open for a while not until we
started the new construction portion of it. So we just jumped into that. I will tell you the major issue we’ve been working
for months is the egress towers on either side of the building. We had to negotiate things between the State Fire Marshal
and the City Fire Marshal and get them on the same page and it took a long time.

We had multiple meeting with the City Engineers on what’s the best traffic pattern. We covered every alternative believe
me. They were like multiple issues of this type of document. So it got down to the Traffic Engineer and the City Engineer
saying this is the way it’s going to happen. I’m glad that it passed today. We’re only changing signs and putting lines on
the streets. So as to Alderman O’Brien’s point if it doesn’t work out, it’s pretty easy to go out and take the lines off and
change things. It is a safety issue. I would have changed the direction of Franklin Street and the other street on the west
side because the number of cars that came around that corner at 40 mph without stopping for the stop sign was
dangerous even without a school. When you got little kids getting in and out of cars in that narrow street that was
                 Case 1:22-cv-00326-LM Document 71-7 Filed 04/01/24 Page 11EXHIBIT
                                                                            of 13  A-5
Special Board of Aldermen                                      07-18-2022                                 Page 11

probably going to be changed one-way no matter what because the police were going crazy. So anyway. I know the only
houses on the block are Winter Street. All the other abutting neighbors know all about this and have all been discussed.
The people on Winter Street I’m sure know what’s going on because the school’s been there now for over a year. Winter
Street is going to be completely repaved and fixed for them. So I think there are as many benefits as downfalls. As far as
traffic for the Fire Department, they’re fine with the new approach. So I’m glad we passed it.

President Wilshire

Alderwoman Kelly?

Alderwoman Kelly

Thank you. I don’t want to repeat what’s been said but I wanted to thank City Clerk Lovering for all her hard work. I also
was sad when she moved from being our Legislative Assistant to City Clerk. I was happy that she was going to be around
a bit longer. She’s done a great job. I know she’ll have a wonderful retirement and we’ll miss her dearly.

I also just - it was moved before I got to speak on it but I was not against this plan. I think that obviously the experts had
done their work. My concerns were around making sure that the public had time to weigh in. I say at my business all the
time every time I skip steps in the process, it always come back to bite me so I was trying to be very true to the process
and making sure that people are heard so that we could take it into account. I think the safety at school is important and
I’m glad it’s going to be addressed and hope that they’ll be continued conversations with the community and Police, Fire,
etc. on how this plan works.

And then because it was talked about by a few, the Elm Street Auditorium. Near and dear to my heart as someone who
was on the Board of the Symphony. I’ve seen what that’s like. I know what the scheduling is like. I’ve heard similar
scheduling issues. I happen to have our City Master Plan out. I was looking at it for something else and one of the things
is arts and culture. So I think that we do need to come up with a solution to continue this. It’s one of the biggest venues
that we have. I think $30 million is a little bit crazy. It sounds like it’s an opportunity to make it more palatable and keep it
in the opportunity for other arts organizations to use in the City. There’s a ton of them. We have a lot of really great arts
organizations and they’re always looking for places to hold and actually once the schools are up, who knows maybe I
won’t have to go to Derry for my daughter’s ballet recital. Anyways, thank you.

President Wilshire

Alderman O’Brien?

Alderman O’Brien

Thank you. I would like to chime in too. Wishing you the best wishes and God speed and your well-deserved retirement.
I can speak there is life after you leave the City. I don’t know what I’m doing here but I came back. I wish you God speed
and everything else like that. I’ll tell you I knew you as a friend prior to my getting on the Board, and as the Administrative
Assistant, now as City Clerk. Your professionalism has been duly noted and been an asset to the City so I thank you and
wish you the best of luck.

I would also just like briefly to say take a step back on Ordinance O-22-020. As I appreciate the Aldermen who voted
against it, I understand. I appreciate your advocacy to that point. My advocacy is to push for the wishes of my particular
Committee. I will keep this as much as one can somewhat on the stove. If something comes up, it does have something
that needs to be watched. I’m glad it went through. Let’s try it out. I think they’ll be other stakeholders that will come
forward such as the School Department, other different people, people of the neighborhood. We’re willing, the
Infrastructure Committee, I’m sure I speak on all their behalf, we’ll keep an eye on this. If need be, come up and convene
another meeting.

And final, you don’t have on the docket but I’d like to remind my all good friends on Infrastructure I think Thursday night
we have a meeting with the Joint Board of Public Works. This is on the landfill administrative building project which
probably the public hasn’t heard. Alderman Dowd I’m sure you’re proud of what you’re building the new school, but I’m
building a pretty good building too. Unfortunately it’s at the landfill but anyways. It is coming up quite nice and coming
along. Again, it’s another project that is fitting right in the budget and everything else like that so we seem to be doing
pretty good. We’ll have additional information at the next meeting. So looking forward to city Infrastructure Committee
there so thank you.

President Wilshire
                  Case 1:22-cv-00326-LM Document 71-7 Filed 04/01/24 Page 12EXHIBIT
                                                                             of 13  A-5
Special Board of Aldermen                                      07-18-2022                                  Page 12

Alderwoman Timmons?

Alderwoman Timmons

Thank you, Madam President. I’d like to echo everyone’s sentiments about Clerk Lovering. Thank you very much. I
won’t ever forget you because you’re on most of my grandkids birth certificates. So that’s a good thing. So I’ll never
forget who you are and I’m disappointed that I didn’t have a lot of time with you but congratulations on moving forward.

I’d like to also welcome our new City Clerk Healey. You’re moving into a great City.

President Wilshire

He hasn’t been interviewed yet.

Alderwoman Timmons

I hear these things and I get a little confused but that’s okay. This is a great City. If you get the job, you’ll be working for a
fantastic Mayor. I’ve been here 32 years and it’s not loved okay.

To that avail, one other thing. We do open the school on August 30th. So we got until that time to get our street painted,
and signs on, and everything else. That’s all I have to say.

President Wilshire

Alderman Moran?

Alderman Moran

Thank you Madam President. I don’t want to be the only Alderman to not wish you the best of luck. I’ll leave that to
Alderman Gouveia. I wish the best of luck on your retirement. I have not known you long but I can tell that you’re a
person of character and you’ve served with grace, especially with all the comments I’ve heard around the horseshoe. So I
wish you luck into retirement.

President Wilshire

Alderman Gouveia?

Alderman Gouveia

I’ll hop in the train. So happy retirement and congratulations.

President Wilshire

Alderman Jette?

Alderman Jette

So I guess I’m the only one. I didn’t want to prolong the meeting. I was planning on expressing my best wishes in private
and I will still do that. I didn’t want anyone to think I was withholding anything.

President Wilshire

Alderman Lopez?

Alderman Lopez

I, too, would like to express engage my fellow Allenstown/Pembroke Inn serving the City of Nashua; and b) for the many
things you’ve done as our Legislative Assistant. As the City Clerk managing a number of very high profile and difficult
elections and also a little bit more personally. When my mother passed away and members of the Board came to the
wake way up in Epsom in the middle of a snow storm, one of my favorite memories is President McCarthy exploding in
the door and being like you should not let that woman drive you. It was a great memory and it was a moment of levity well
                Case 1:22-cv-00326-LM Document 71-7 Filed 04/01/24 Page 13EXHIBIT
                                                                           of 13  A-5
Special Board of Aldermen                                  07-18-2022                              Page 13

needed. I appreciate all the time you’ve been here and the service that you’ve given.

President Wilshire

Alright so I’m the only one who hasn’t (inaudible) and I’m not going to. No I certainly am – Sue you know. I’ve known you
for 25 years. We worked very closely together. I’ve been on the Board 23 years. I was devastated to lose you to the City
Clerk. Mayor Donchess did that, thanks Jim. But Sue you know that I appreciate everything you’ve done, especially for
this Board in any capacity you’ve served. I just want to thank you and hope you enjoy your granddaughter and your
happy and healthy retirement.

ADJOURNMENT

MOTION BY ALDERMAN O’BRIEN THAT THE JULY 18, 2022 SPECIAL MEETING OF THE BOARD OF ALDERMEN
BE ADJOURNED
MOTION CARRIED

The meeting was declared adjourned at 8:02 p.m.

                                                                    Attest: Susan Lovering, City Clerk
